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 2
                              UNITED STATES DISTRICT COURT
 3
                                  DISTRICT OF NEVADA
 4
       Evaristo Navarro Rodriguez,                      Case No. 3:20-cv-00691-ART-CLB
 5
                                     Petitioner,       Order Granting Extension of Time to
 6           v.                                           Respond to Motion to Stay to
                                                                August 14, 2024
 7     Tim Garrett, et al.,
 8                              Respondents.                      (ECF No. 79)
 9
            Respondents seek an extension of time to file a response to 28 U.S.C. §
10
      2254 habeas corpus petitioner Evaristo Navarro Rodriguez’s motion to stay. (ECF
11
      No. 79.) Good cause appearing,
12
            It is ordered that that Respondents’ unopposed motion for extension of time
13
      to respond to motion to stay (ECF No. 79) is GRANTED nunc pro tunc. The
14
      deadline to respond is extended to August 14, 2024.
15

16
            DATED THIS 18th day of July 2024.
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20                                           ANNE R. TRAUM
                                             UNITED STATES DISTRICT JUDGE
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